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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION SECTION “N-5"
JUDGE ENGELHARDT
MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:

Lyndon Wright v. Forest River, Inc., et al.

Case No. 09-2977 (ED. La.) and

James H. Aldridge and Angela L. Aldridge,

et al vs. Gulfstream Coach, Inc., et al,

No. 07-9228 (as further referred to as Elisha Dubuclet,
individually and on behalf of minor children,

Timia Dubuclet and Timothy Dubuclet, Jr.., et al

vs. Fleetwood Enterprises, Inc., et al)

Ree ke Ree HA RAR A RRR ARERR RRR RRA RE RK RK KR KEE RR KR KR RK KR RR KK

NOTICE OF HEARING

PLEASE TAKE NOTICE that the hearing on the Motion to Strike Defendant’s Medical
Expert Dr. H. James Wedner filed by the Plaintiffs will come for hearing before the United
States District Judge Englehardt, in the United States District Court for the Eastern District of

Louisiana, on October 21, 2009 at 9:30 am. You are invited to attend and participate as you see

fit.
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RESPECTFULLY SUBMITTED:

FRANK J. DDAMICO, JR.,
APLC

BY:s/Frank J. D’ Amico

FRANK J. D’AMICO, JR., T.A. 417519)
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CERTIFICATE OF SERVICE

{hereby certify that on October 1, 2009, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all
counsel of record who are CM/ECF participants. I further certify that I mailed the foregoing
document and the notice of electronic filing by first-class mail to all counsel of record who are
non-CM/ECF participants.

3/Frank J. D’ Amico
FRANK J. DDAMICO, #17519

